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                 THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division

UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
               v.                                      )       Criminal Action No. 1:18-cr-83
                                                       )
PAUL J. MANAFORT,                                      )
    Defendant.                                         )

                                  MEMORANDUM OPINION

       This multi-count indictment charging defendant with various bank fraud and tax charges

was brought by a Special Counsel appointed by the Acting Attorney General to investigate

collusion between President Trump’s campaign for the presidency and the Russian government

in connection with the 2016 Presidential election. At issue is defendant’s threshold challenge to

the authority of the Special Counsel to pursue the charges in the Superseding Indictment which,

on their face, appear unrelated to the 2016 Presidential election.

                                                  I.

                                                  A.

       As a preface to the analysis of defendant’s contentions attacking the Superseding

Indictment, it is useful to begin with a brief recitation of the recent history of special prosecutors,

and then to describe the current provisions governing the appointment of special prosecutors and

their investigations. Special prosecutors are not an unfamiliar feature of the American legal

landscape; indeed special prosecutors were ubiquitous in the 1980s and 1990s, albeit under a

different statutory regime. In the wake of Watergate and the so-called Saturday Night Massacre,

Congress enacted the first iteration of the independent counsel statute, the Ethics in Government

Act of 1978, Pub. L. No. 95-521, 92 Stat. 1824 (codified at 28 U.S.C. §§ 591-598) (the 1978


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Act). The intended purpose of the 1978 Act was to create a mechanism for the investigation and

prosecution of high-ranking government officials. Although originally enacted with a five-year

sunset provision, Congress revised and reauthorized the 1978 Act in 1983 and again in 1987. In

1988, the Supreme Court upheld the constitutionality of the 1978 Act despite substantial

separation-of-powers challenges. See Morrison v. Olson, 487 U.S. 654 (1988). 1

         Congress reauthorized the 1978 Act for the final time in 1994. See Independent Counsel

Reauthorization Act of 1994, Pub. L. No. 103-270, 108 Stat. 732 (codified in 28 U.S.C. §§ 591-

599) (the 1994 Reauthorization Act). By its terms, the 1994 Reauthorization Act required the

Attorney General to conduct a “preliminary investigation” to determine whether appointment of

an independent counsel was necessary if the Attorney General received “information sufficient to

constitute grounds to investigate whether” a covered person 2 has violated federal criminal law.



1
  It is important to note that despite the fact that Morrison was decided 7-1, Justice Scalia’s dissent presented a
compelling and powerful argument against the constitutionality of the 1978 Act. Beginning with an eloquent
description of the Founders’ motivations in enshrining separation of powers principles in the Constitution, Justice
Scalia’s dissent went on to describe the ways in which the 1978 Act infringed upon Executive power:
         the [independent counsel’s] investigation . . . was commenced, not necessarily because the
         President or his authorized subordinates believe it is in the interest of the United States, in the
         sense that it warrants the diversion of resources from other efforts, and is worth the cost in money
         and in possible damage to other governmental interests; and not even, leaving aside those
         normally considered factors, because the President or his authorized subordinates necessarily
         believe that an investigation is likely to unearth a violation worth prosecuting; but only because
         the Attorney General cannot affirm, as Congress demands, that there are no reasonable grounds to
         believe that further investigation is warranted. The decisions regarding the scope of that further
         investigation, its duration, and, finally, whether or not prosecution should ensue, are likewise
         beyond the control of the President and his subordinates.
See Morrison, 487 U.S. at 703 (Scalia, J., dissenting). According to Justice Scalia, “[i]f to describe this case is not
to decide it, the concept of a government of separate and coordinate powers no longer has meaning” because “it is
ultimately irrelevant how much the statute reduces Presidential control”; any impingement on Presidential control
over the Executive Branch was unconstitutional. Justice Scalia also noted significant Appointments Clause
problems with the 1978 Act, arguing that the independent counsel was not an inferior officer because neither the
President nor the Attorney General could remove the independent counsel. Ultimately, however, Chief Justice
Rehnquist and the other Justices involved in the case were not of the same mind as Justice Scalia, and the Court
ruled 7-1 that the 1978 Act passed constitutional muster, including the Appointments Clause.
2
 Covered persons under the 1994 Reauthorization Act included the President, Vice President, Attorney General, any
Assistant Attorney General, the Director of the CIA, the Deputy Director of the CIA, the Commissioner of Internal
Revenue, the heads of the cabinet departments, and the chairman and treasurers of the principal national campaign
committees seeking election or reelection of the President. 28 U.S.C. § 591(b). Previous iterations of the 1978 Act

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Id. § 591. Once a preliminary investigation was initiated, the statute required the Attorney

General to decide within ninety days whether “there are reasonable grounds to believe that

further investigation is warranted.” Id. §§ 592(c)(1), (a)(1). Finally, in the event the Attorney

General concluded that “there are reasonable grounds to believe that further investigation is

warranted,” then the Attorney General was required by the 1994 Reauthorization Act to apply to

the D.C. Circuit for the appointment of an independent counsel. Id. § 592(c)(1). Once that court

appointed an independent counsel, the independent counsel would have “full power and

independent authority to exercise all investigative and prosecutorial functions and powers of the

Department of Justice, the Attorney General, and any other officer or employee of the

Department of Justice.” Id. § 594(a). After appointment, the independent counsel could be

removed by the Attorney General “only for good cause, physical or mental disability, or any

other condition that substantially impairs the performance” of his or her duties. Id. § 596(a)(1).

         In 1999, through a bipartisan consensus, Congress agreed to allow the 1994

Reauthorization Act to expire.              The lawmakers at that time concluded that the 1994

Reauthorization Act was seriously flawed in several important respects as experience had shown.

Indeed, in her testimony before the Senate Committee on Governmental Affairs, then-Attorney

General Janet Reno testified that the statute was “structurally flawed” because the independent

counsel was unaccountable, “not . . . confirmed by the Senate, and . . . not typically subject to the

same sort of oversight or budget constraints that the Department [of Justice (DOJ)] faces[.]” The

Future of the Independent Counsel Act: Hearings Before the S. Comm. on Gov’t Affairs, 106th

Cong. 249 (1999) (statement of Janet Reno, Attorney General).                 Significantly, former

independent counsel Kenneth Starr expressed a similar view, stating that the statute was both

“structurally unsound” and “constitutionally dubious.” Id. at 425, 433 (statement of Kenneth

included different individuals as covered persons.

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Starr, former independent counsel).             Both Republicans and Democrats had come to the

conclusion that in practice the 1994 Reauthorization Act and its predecessors had become more

often a political weapon to be unleashed in the ongoing, indeed escalating culture wars, than a

tool for ferreting out and prosecuting crimes ostensibly committed by high-ranking government

officials.

                                                        B.

         But the expiration of the 1978 Act did not end the appointment of “independent” counsel

to investigate and prosecute crimes allegedly committed by high-level members of the Executive

Branch. Later in 1999, the DOJ, acting pursuant to distinct statutory authority, 3 promulgated

regulations “to replace the procedures set out in the Independent Counsel Reauthorization Act of

1994.” Office of Special Counsel, 64 Fed. Reg. 37038, 37038 (July 9, 1999). These regulations

were an effort to address criticisms of the 1978 Act by “strik[ing] a balance between

independence and accountability” and empowering the Special Counsel to “structure the

investigation as he or she wishes and to exercise independent prosecutorial discretion” while

maintaining “ultimate responsibility for the matter and how it is handled . . . with the Attorney

General.” Id.

         These regulations begin by outlining the grounds for appointing a Special Counsel.

Specifically, 28 C.F.R. § 600.1 provides that the Attorney General, or where the Attorney

3
  The statutory authority under which current Special Counsel are appointed by the Attorney General pre-dates the
1978 Act. The statutory provisions applicable to the Special Counsel were codified in 1966 at Sections 501 through
530D of Title 28 of the United States Code. See An Act of Sept. 6, 1966, Pub. L. No. 89-554, 80 Stat. 612 (codified
at 28 U.S.C. §§ 501-530D). As relevant here, these provisions vest all functions of the DOJ, including conducting
criminal litigation on behalf of the United States, in the Attorney General, see 28 U.S.C. § 509, and authorize the
Attorney General to delegate these functions to “any other officer, employee, or agency of the Department of
Justice,” see id. § 510. Although the Attorney General can delegate these functions to an existing officer of the
DOJ, the Attorney General may also retain outside attorneys and commission these attorneys as special assistants to
the Attorney General or special attorneys. See id. § 515. Once a special attorney is retained, that assistant “may,
when specifically directed by the Attorney General, conduct any kind of legal proceeding, civil or criminal,
including grand jury proceedings and proceedings before committing magistrate judges, which United States
attorneys are authorized by law to conduct.” Id. § 515(a).

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General is recused, the Acting Attorney General, may appoint a Special Counsel when he or she

determines (i) that “criminal investigation of a person or matter is warranted”, (ii) that

investigation of that person or matter by existing DOJ components “would present a conflict of

interest,” and (iii) that it would be “in the public interest to appoint an outside Special Counsel to

assume responsibility for the matter.” 28 C.F.R. § 600.1. The regulations further require the

Attorney General to establish the jurisdiction of the Special Counsel. See id. § 600.4(a). In this

regard, the Attorney General must provide the Special Counsel “with a specific factual statement

of the matter to be investigated.” Id. In addition to this specific factual statement of the matter

to be investigated, the regulations make clear that the Special Counsel’s jurisdiction also

automatically encompasses “the authority to investigate and prosecute federal crimes committed

in the course of, and with intent to interfere with, the Special Counsel’s investigation” as well as

“appeals arising out of the matter being investigated and/or prosecuted.” Id.

       The regulations also establish a mechanism by which a Special Counsel can acquire

additional jurisdiction beyond the jurisdiction originally conferred by the Attorney General in the

factual statement. Specifically, a Special Counsel in the current scheme can consult with the

Attorney General in the event the Special Counsel believes that additional jurisdiction is

necessary to investigate fully the matters assigned in the original factual statement or to

investigate new matters that come to light. In this event, the Attorney General must then

determine whether to include the additional matters within the Special Counsel’s jurisdiction.

See id. § 600.4(b).

       Once the Attorney General appoints a Special Counsel, the regulations provide that “the

Special Counsel shall exercise, within the scope of his or her jurisdiction, the full power and

independent authority to exercise all investigative and prosecutorial functions of any United



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States Attorney.” Id. § 600.6. At the same time, however, the regulations require the Special

Counsel to “comply with rules, regulations, procedures, practices, and policies of the [DOJ].” Id.

And although it does not appear that the Special Counsel is subject to day-to-day supervision by

the Attorney General, the regulations do provide that the Special Counsel is obligated to “notify

the Attorney General of events in the course of his or her investigation in conformity with the

Departmental guidelines with respect to Urgent Reports,” id. § 600.8(b), and the Attorney

General “may request that the Special Counsel provide an explanation for any investigative or

prosecutorial step,” id. § 600.7(b). If the Attorney General concludes that any action the Special

Counsel has taken is “inappropriate or unwarranted under established Departmental practices,”

the Attorney General can conclude that the action “should not be pursued[.]” Id. § 600.7(b). And

in the event of the Special Counsel’s “misconduct, dereliction of duty, incapacity, conflict of

interest, or for other good cause, including violation of Departmental policies[,]” the Attorney

General may remove the Special Counsel. Id. § 600.7(d). Finally, the regulations specify that

“[t]he regulations . . . are not intended to, do not, and may not be relied upon to create any rights,

substantive or procedural, enforceable at law or equity, by any person or entity, in any matter,

civil, criminal, or administrative.” Id. § 600.10.

         Some of the criticisms leveled at the provisions of the 1978 Act seem equally applicable

to the current Special Counsel scheme. 4 To be sure, the separation of powers concerns that


4
  Criticisms of the 1978 Act and 1994 Reauthorization Act were legion. Commentators from academia, Congress,
and the judiciary all leveled significant criticism at the independent counsel scheme. See, e.g., Panel Program, The
Independent Counsel Process: Is it Broken and How Should it be Fixed?, 54 Wash. & Lee L. Rev. 1515, 1546
(1997) (distinguishing an independent counsel from a U.S. Attorney because “the independent counsel, once
appointed, has all the authority of the Attorney General and the independent counsel doesn’t have to seek authority
from anybody to anything”) (Fiske, Robert B., Partner at Davis Polk & Wardwell); id. at 1549 (“My experience is
that I had unlimited authority as an independent counsel”) (Stein, Jacob A., former independent counsel); see also
Steven G. Calabresi, Some Normative Arguments for the Unitary Executive, 48 Ark. L. Rev. 23, 90-95 (1995)
(arguing that the costs of the 1978 Act outweighed the benefits); Julie O’Sullivan, The Independent Counsel Statute:
Bad Law, Bad Policy, 33 Am. Crim. L. Rev. 463 (1996) (arguing that the 1978 Act created significant accountability
and other problems).

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plagued the 1978 Act and provoked Justice Scalia’s now-famous dissent in Morrison v. Olson

are largely cured by the present appointment structure. 5 But the regulations do not require the

Special Counsel’s investigation to be limited as to time 6 or budget. Thus, to provide a Special

Counsel with a large budget and to tell him or her to find crimes allows a Special Counsel to

pursue his or her targets without the usual time and budget constraints facing ordinary

prosecutors, encouraging substantial elements of the public to conclude that the Special Counsel

is being deployed as a political weapon. 7 Furthermore, although the regulations require the

Attorney General to provide a Special Counsel with a factual statement of the matters to be

investigated, notably missing from the regulation is any requirement that the Attorney General

specify any particular crime or statutes that are believed to have been violated. The failure to

specify to the Special Counsel the types of crimes and statutes involved contributes to the public


5
  Yet, even the current Special Counsel regulations are not entirely free from constitutional attack. Indeed, Professor
Steven Calabresi has argued that the appointment of the Special Counsel may run afoul of the Appointments Clause
of the Constitution because the Special Counsel is a principal, not an inferior officer, and therefore must be
appointed by the President with the advice and consent of the Senate. See Steven G. Calabresi, Mueller’s
Investigation Crosses the Legal Line, Wall Street J. (May 13, 2018) https://www.wsj.com/articles/muellers-
investigation-crosses-the-legal-line-1526233750; see also Steven G. Calabresi, Opinion on the Constitutionality of
Robert Mueller’s Appointment (May 22, 2018) https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3183324.
Defendant does not argue that the appointment of the Special Counsel violates the Appointments Clause of the
Constitution, so that particular objection need not be addressed in detail here, but it is worth noting that such an
objection would likely fail. The Special Counsel appears quite plainly to be an inferior officer. He is required to
report to and is directed by the Deputy Attorney General. See Morrison, 487 U.S. at 671-72 (holding that the
independent counsel was an inferior officer); see also Myers v. United States, 272 U.S. 52, 159 (1926) (referring to
“a United States attorney” as “an inferior officer”); Edmond v. United States, 520 U.S. 651, 663 (1997) (“[W]e think
it evident that ‘inferior officers’ are officers whose work is directed and supervised at some level by others who
were appointed by Presidential nomination with the advice and consent of the Senate.”). Congress may vest
appointment of inferior officers in the “heads of departments” and so the congressionally authorized appointment of
the Special Counsel by the Deputy Attorney General, acting as the Attorney General, is valid pursuant to the
Appointments Clause. See U.S. Const. art. II, § 2, cl. 2.
6
 Neither the current Special Counsel regulations, nor the order in this case places any limit on the duration of the
Special Counsel’s investigation. See infra at 9-10.
7
  In a December 5, 2017 report, the Special Counsel’s Office reported spending $3.2 million on the Special
Counsel’s salaries, travel, rent, and equipment between May 17, 2017 and September 30, 2017. See Special
Counsel’s Office Statement of Expenditures May 17, 2017 to September 30, 2017 (2017). The most recent budget
proposal from the White House projects that the Special Counsel will spend about $10 million in the new fiscal year,
which starts in October of this year. See Josh Gerstein & Daren Samuelsohn, Trump budget anticipates Mueller
investigation will stretch into fiscal year 2019, Politico (Feb. 12, 2018) (“The budget projects that Mueller’s team
will keep spending at its current rate of about $10 million per year in the next fiscal year, which starts in October.”).

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perception that appointment of a Special Counsel is wielded as a political weapon, not as a tool

for prosecuting specific crimes believed to have been committed by high-ranking officials as to

which the DOJ has a conflict.

         Furthermore, the Special Counsel regulations’ failure to require identification of specific

crimes creates strong incentives for Special Counsel to allege that those individuals have

committed criminal acts, even if the criminal acts the Special Counsel ultimately prosecutes are

unrelated to the original reasons for appointing the Special Counsel. 8 If a Special Counsel

discovers no criminal activity then the investigation is likely to be perceived as a waste of time

and resources, and thus a Special Counsel has a strong incentive to find criminality and to

prosecute criminal conduct by the people he has been charged with investigating — here persons

connected with the Trump campaign. See Cass R. Sunstein, Bad Incentives and Bad Institutions,

86 Geo. L.J. 2267, 2279-80 (1998). 9

         The current Special Counsel is also in some ways less accountable than the independent

counsel of the past. The 1994 Reauthorization Act included a number of provisions requiring



8
  Independent Counsel Kenneth Starr’s investigation is illustrative. What began as an investigation of a real estate
deal in Arkansas became an investigation of allegations that President Clinton had lied under oath and attempted to
obstruct justice. See ‘Clinton v. Starr’: A ‘Definitive’ Account, NPR (Feb. 16, 2010) https://www.npr.org/templates/
story/story.php?storyId=123653000.
9
  The Special Counsel must also hire others to assist in the investigative process, and those applying to join the
investigation may have their own biases and incentives to prosecute the target of the investigation, or their self-
selection into the investigation may create an appearance of bias. See Akhil Amar, On Impeaching Presidents, 28
Hofstra L. Rev. 291, 296 (1999) (“An ad hoc independent counsel must build an organization from scratch, and
those who volunteer may have an ax to grind, since the target is known in advance.”). In this case, many of the
individuals working for the Special Counsel have donated to or worked for Democrats in the past, creating a public
appearance of possible bias. See Alex Hosenball et al., Meet special counsel Robert Mueller’s prosecution team,
ABC News (Mar. 17, 2018) https://abcnews.go.com/Politics/meet-special-counsel-robert-muellers-prosecution-
team/story?id=55219043. Similar accusations of bias were made against Kenneth Starr during the Whitewater
investigation, with a number of Democrats criticizing the appointment of Kenneth Starr because of his connections
to the Republican Party. See David Johnston, Appointment in Whitewater Turns into a Partisan Battle, N.Y. Times
(Aug. 13, 1994) https://www.nytimes.com/1994/08/13/us/appointment-in-whitewater-turns-into-a-partisan-battle.
html. Both cases highlight the fact that even the selection of the Special Counsel and his or her subordinates can
provide grist for the media mill, heightening partisan tension and increasing the likelihood that substantial portions
of the public will perceive work of the Special Counsel as partisan warfare.

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progress reports to Congress, 10 and requiring that the independent counsel adhere to DOJ

policies. 11 None of these statutory limitations or oversight mechanisms exists for the current

Special Counsel regime.

           In sum, there appears to be little operational difference between the current Special

Counsel appointment scheme and the scheme found wanting under the 1978 Act and its

reauthorizations.        Both schemes are subject to many of the same objections.                         Like the

independent counsel under the 1978 Act, the current Special Counsel has broad authority to

investigate and prosecute crimes unburdened by traditional limits placed on an ordinary

prosecutor. Many of the same problems that plagued investigations pursued under the 1978 Act

— from Kenneth Starr’s investigation of Whitewater to Lawrence Walsh’s investigation of Iran-

Contra — seem equally applicable to the current process. 12 In the end, Congress and members

of both political parties reached the sound conclusion that the 1978 Act and its reauthorizations

should be allowed to expire, as the Act had come to be a tool for pursuing partisan agendas

rather than a means of assuring accountability in government by prosecuting crimes committed

by high-ranking government officials. That lesson, it seems, has been forgotten.

                                                         C.

           The facts surrounding the appointment of the Special Counsel in this case are widely

known, but bear repetition in some detail here. On March 20, 2017, then-Federal Bureau of

Investigation (“FBI”) Director James Comey disclosed that the FBI was in the process of



10
    28 U.S.C. § 595(a)(2) (“An independent counsel . . . shall submit to the Congress annually a report on the
activities of the independent counsel, including a description of the progress of any investigation or prosecution
. . .”).
11
  Id. § 594(f)(1) (requiring the independent counsel to “comply with the written or other established policies of the
Department of Justice respecting enforcement of the criminal laws”); id. § 594(l)(l)(C) (requiring the independent
counsel to “comply with the established policies of the Department of Justice respecting expenditures of funds”).
12
     See supra note 4.

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investigating Russian interference in the 2016 Presidential election and any potential links or

coordination between the Russian government and President Trump’s campaign organization.

See Statement of FBI Director James B. Comey, House Permanent Select Committee on

Intelligence, Hearing on Russian Active Measures                        Investigation (Mar. 20, 2017),

https://www.fbi.gov/news. Shortly thereafter, on May 17, 2017, Acting Attorney General Rod J.

Rosenstein (Rosenstein) 13 appointed Robert S. Mueller, III (Mueller) as Special Counsel

pursuant to 28 U.S.C. §§ 509, 510, and 515 and authorized Mueller to “conduct the investigation

confirmed by then-FBI Director James B. Comey in testimony before the House Permanent

Select Committee on Intelligence on March 20, 2017,” including as stated in ¶ (b):

        (i) any links and/or coordination between the Russian government and individuals
        associated with the campaign of President Donald Trump; and

        (ii) any matters that arose or may arise directly from the investigation; and

        (iii) any other matters within the scope of 28 C.F.R. § 600.4(a).

Dep’t of Justice, Office of Deputy Attorney General, Order No. 3915-2017, Appointment of

Special Counsel To Investigate Russian Interference with the 2016 Presidential Election and

Related Matters, ¶ (b) (May 17, 2017) (May 17 Appointment Order). The May 17 Appointment

Order further authorized the Special Counsel “to prosecute federal crimes arising from the

investigation of these matters” should the Special Counsel believe prosecution necessary and

appropriate, and subject to the applicable regulations. Id. ¶ (c). Finally, the Acting Attorney

General made “[s]ections 600.4 through 600.10 of Title 28 of the Code of Federal Regulations []

applicable to the Special Counsel” in this matter. Id. ¶ (d). In sum, ¶ (b), including ¶¶ (b)(i),

13
   On March 2, 2017, the Attorney General recused himself “from any existing or future investigations of any
matters related in any way to the campaigns for President of the United States.” Press Release, U.S. Dep’t of
Justice, Attorney General Sessions Statement on Recusal (Mar. 2, 2017), https://www.justice.gov/opa/pr/attorney
-general-sessions-statement-recusal. Accordingly, the Deputy Attorney General became Acting Attorney General
with respect to these investigations. See 28 C.F.R. § 600.1 (providing that where the Attorney General is recused,
the Deputy Attorney General serves as Acting Attorney General).

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(b)(ii), and (b)(iii), defines the scope of the Special Counsel’s investigatory authority, ¶ (c) grants

the Special Counsel authority to prosecute federal crimes “arising” from his investigation, and

¶ (d) subjects the Special Counsel to the applicable internal DOJ regulations.

         Subsequently, on August 2, 2017, the Acting Attorney General issued a non-public

memorandum concerning “[t]he Scope of Investigation and Definition of Authority” conferred

on the Special Counsel. Memorandum from Rod Rosenstein to Robert S. Mueller, III 1 (Aug. 2,

2017) (August 2 Scope Memorandum). 14 The August 2 Scope Memorandum made clear that the

May 17 Appointment Order “was worded categorically in order to permit its public release” and

that the August 2 Scope Memorandum “provide[d] a more specific description” of the Special

Counsel’s authority. Id. With respect to the defendant, the August 2 Scope Memorandum

identified several allegations, including allegations that the defendant:

         [c]ommitted a crime or crimes by colluding with Russian government officials with
         respect to the Russian government’s efforts to interfere with the 2016 election for
         President of the United States, in violation of United States law;

         [c]ommitted a crime or crimes arising out of payments he received from the Ukrainian
         government before and during the tenure of President Viktor Yanukovych[.]

Id. at 2. The August 2 Scope Memorandum noted that these allegations against the defendant

“were within the scope of [the Special Counsel’s] investigation at the time of [his] appointment

and are within the scope of the [Appointment] Order.” Id. at 1.

         Several months later, on February 22, 2018, the Special Counsel charged defendant 15



14
   Prior to the hearing, the Special Counsel submitted the August 2 Scope Memorandum in this record, albeit with
significant redactions. In the course of the hearing on defendant’s motion to dismiss the Superseding Indictment, the
Special Counsel was ordered to produce an un-redacted copy of the August 2 Scope Memorandum. The Special
Counsel complied with this directive, and a review of the un-redacted memorandum confirms that the only portions
pertinent to the issues in this case are those already available in this public record and excerpted above.
15
  Given the investigation’s focus on President Trump’s campaign, even a blind person can see that the true target of
the Special Counsel’s investigation is President Trump, not defendant, and that defendant’s prosecution is part of
that larger plan. Specifically, the charges against defendant are intended to induce defendant to cooperate with the
Special Counsel by providing evidence against the President or other members of the campaign. Although these

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with, and a grand jury indicted defendant on (i) five counts of subscribing to false income tax

returns, in violation of 26 U.S.C. § 7206(1) (Counts 1-5); (ii) four counts of failing to file reports

of foreign bank accounts, in violation of 31 U.S.C. §§ 5314, 5322(a) (Counts 11-14); and (iii)

nine counts bank fraud and conspiracy to commit bank fraud, in violation of 18 U.S.C. §§ 1344,

1349 (Counts 24-32). 16           Specifically, the Superseding Indictment 17 alleges that defendant

received millions of dollars in payments from his political consulting and lobbying work on

behalf of Ukraine, the pro-Russia political party in Ukraine, and then-President Yanukovych and

that defendant fraudulently hid those funds from U.S. authorities.

         Defendant has now subsequently moved to dismiss the Superseding Indictment. The

questions presented in defendant’s motion, and addressed in this memorandum opinion are as

follows:

         (1) whether ¶ (b)(i) of the May 17 Appointment Order is a valid grant of
         jurisdiction pursuant to the Special Counsel regulations and whether the Special
         Counsel’s investigation falls within that grant of jurisdiction;

         (2) whether ¶ (b)(ii) of the May 17 Appointment Order is a valid grant of
         jurisdiction pursuant to the Special Counsel regulations and whether the Special
         Counsel’s investigation falls within that grant of jurisdiction; and

         (3) whether a violation of the Special Counsel regulations would require dismissal
         of the Superseding Indictment.

         These questions have been fully briefed and argued, and are separately addressed below.

                                                          II.

         The first question is whether ¶ (b)(i) of the May 17 Appointment Order is a valid grant of


kinds of high-pressure prosecutorial tactics are neither uncommon nor illegal, they are distasteful.
16
  The Special Counsel also sought and obtained an indictment in the District of Columbia charging defendant with a
number of similar charges. That indictment is still pending and that trial is set for September 17, 2018. The
Superseding Indictment here at issue was apparently sought in this district to accommodate venue requirements.
17
  Defendant was initially charged with a co-defendant. On March 1, 2018, the government’s motion to dismiss the
charges against the co-defendant was granted without prejudice. Accordingly, the government subsequently filed the
Superseding Indictment at issue here, including charges solely against defendant.

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jurisdiction pursuant to the Special Counsel regulations and whether the Special Counsel’s

investigation of defendant falls within that grant. 18 To begin with, defendant concedes that

¶ (b)(i) is a valid grant of jurisdiction. Specifically, defendant acknowledges that the Acting

Attorney General acted consistently with the Special Counsel regulations when the Acting

Attorney General authorized the Special Counsel to investigate the matters included in ¶ (b)(i) of

the May 17 Appointment Order, namely “any links and/or coordination between the Russian

government and individuals associated with the campaign of President Donald Trump.” May 17

Appointment Order ¶ (b)(i). Thus, the only issue is whether the Special Counsel’s investigation

and prosecution of the matters contained in the Superseding Indictment falls within the valid

grant of jurisdiction contained in ¶ b(i) of the May 17 Appointment Order.

         It does; the Special Counsel’s investigation of defendant falls squarely within the

jurisdiction outlined in ¶ b(i) of the May 17 Appointment Order, and because ¶ b(i) was an

appropriate grant of authority, there is no basis for dismissal of the Superseding Indictment on

this ground. Specifically, in the May 17 Appointment Order, the Acting Attorney General

authorized the Special Counsel to investigate, among other things, “any links and/or coordination

between the Russian government and individuals associated with the campaign of President

Donald Trump … .” May 17 Appointment Order ¶ (b)(i). It is undisputed that defendant is an

“individual[] associated with the campaign of President Donald Trump[;]” indeed, defendant

served as the chairman of President Donald Trump’s campaign from March 2016 until August

2016.     Moreover, the Special Counsel’s investigation focused on potential links between

defendant and the Russian government.                    In particular, the Special Counsel investigated

18
   Defendant’s principal argument relies on the assumption that the Special Counsel’s jurisdiction to investigate and
prosecute the crimes alleged against defendant in the Superseding Indictment must arise from ¶ (b)(ii) of the May 17
Appointment Order. But analysis properly begins with a determination as to whether the Special Counsel’s
investigation and prosecution of defendant falls within the grant of jurisdiction outlined in ¶ (b)(i) because that issue
is dispositive.

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defendant’s political consulting work on behalf of, and receipt of substantial payments from,

then-President Victor Yanukovych of the Ukraine and the Party of Regions, Yanukovych’s pro-

Russian political party in the Ukraine. See Superseding Indictment ¶¶ 10-11. To be sure, history

is replete with evidence of the existing and longstanding antagonism between the Ukraine and

Russia. Indeed, armed conflict in the eastern Ukraine is still underway. 19 Nonetheless, the fact

that the Yanukovych was a strongly pro-Russian President warranted the investigation here. The

fact that the Russian government did not make payments to defendant directly is not

determinative because the text of the May 17 Appointment Order authorizes investigation of

“any links and/or coordination between the Russian government and individuals associated with

the campaign of President Donald Trump.” May 17 Appointment Order ¶ (b)(i) (emphasis

added). 20 Given that, as the Supreme Court has recognized, the term “any” “has an expansive

meaning, that is, ‘one or some indiscriminately of whatever kind[,]’” 21 the May 17 Appointment

Order plainly authorizes the investigation of indirect links between Trump campaign officials

and the Russian government in addition to more direct connections. In this regard, the May 17

Appointment Order authorizes the Special Counsel to investigate defendant’s ties with

individuals financially and politically supported by the Russian government, even where, as here,

those individuals are not themselves members of the Russian government.

           Defendant argues that the Special Counsel’s investigation cannot possibly fall within

¶ b(i) of the May 17 Appointment Order because the crimes for which defendant was ultimately


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  See Michael Nienaber, Ukraine, Russia fail to agree on U.N. peacekeeping mission, Reuters (June 11, 2018) (“A
ceasefire agreement that was signed in February 2015 in Minsk has failed to end the violence, with fighters from
both sides violating the peace plan on a nearly daily basis.”).
20
   The wisdom of allowing all links between individuals associated with President Trump’s campaign and the
Russian government to be subject to investigation, irrespective of how stale those connections might be, is seriously
in doubt. Nevertheless, the grant of investigatory authority is written broadly, and does capture the connections at
issue in this case.
21
     Dep’t of Hous. & Urban Dev. v. Rucker, 535 U.S. 125, 131 (2002).

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prosecuted, namely bank fraud and failure to file tax returns, do not involve election interference.

At first glance, this argument appears to have some force. After all, defendant argues that the

stated reason for the appointment of a Special Counsel was to investigate Russian interference

with the 2016 Presidential election. But, upon further review, it becomes clear that this argument

misunderstands the structure of the May 17 Appointment Order and the difference between the

Special Counsel’s investigative and prosecutorial authority. Paragraph b(i) describes the subject

of the Special Counsel’s investigative authority, namely “any links” between President Trump

campaign officials and the Russian government. May 17 Appointment Order ¶ b(i). Paragraph

(c) of the May 17 Appointment Order then describes the Special Counsel’s prosecutorial

authority, authorizing the Special Counsel “to prosecute federal crimes arising from these

matters” if the Special Counsel “believes [prosecution] is necessary and appropriate.” Id. ¶ (c).

The May 17 Appointment Order does not limit the Special Counsel’s prosecution authority to

federal crimes concerning election interference or collusion; rather, the Special Counsel is

authorized to prosecute federal crimes that arise out of his authorized investigation. And the

crimes charged in the Superseding Indictment clearly arise out of the Special Counsel’s

investigation into the payments defendant allegedly received from Russian-backed leaders and

pro-Russian political officials. Specifically, the Special Counsel “followed the money” paid by

pro-Russian officials to defendant, and as a result, claimed to have found evidence that defendant

was deliberately hiding these payments from U.S. authorities by disguising the payments as

loans from offshore corporate entities and by depositing the payments in offshore accounts and

using those accounts to make payments to purchase and to make improvements to U.S. real

estate. See Superseding Indictment ¶ 2. Based on this, the Special Counsel charged defendant

with subscribing to false tax returns, failing to report foreign bank accounts, bank fraud, and



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conspiracy to commit bank fraud.

       In sum, ¶ (b)(i) of the May 17 Appointment Order makes clear that the Special Counsel’s

investigation into the payments defendant received from Russian-backed Ukrainian officials was

authorized because the investigation involved potential links between a Trump campaign official

— the defendant — and the Russian government via the Russian-backed Ukrainian President.

The May 17 Appointment Order also confirms that the Special Counsel was authorized to

prosecute the crimes alleged in the Superseding Indictment because evidence of these alleged

crimes was uncovered as part of the Special Counsel’s aforementioned investigation. Given that

defendant concedes that the Acting Attorney General appropriately exercised his authority in

authorizing this jurisdiction in the May 17 Appointment Order, defendant’s argument for

dismissal of the Superseding Indictment is unpersuasive.

       Even assuming, arguendo, that the Special Counsel’s investigation and the subsequent

prosecution of defendant were not authorized by the plain text of ¶ (b)(i) of the May 17

Appointment Order, the August 2 Scope Memorandum reflects that the Special Counsel was

acting within his authority when he sought and obtained the Superseding Indictment against

defendant in February 2018. The August 2 Scope Memorandum explains that the May 17

Appointment Order’s description of the Special Counsel’s authority was “worded categorically

in order to permit its public release.” August 2 Scope Memorandum at 1. The August 2 Scope

Memorandum then goes on to provide additional detail regarding the Special Counsel’s

authority, explaining that allegations that defendant “[c]ommitted a crime or crimes arising out

of payments he received from the Ukrainian government before and during the tenure of

President Viktor Yanukovych” “are within the scope of the [Appointment] Order[.]” Id. at 2.

       No interpretive gymnastics are necessary to determine that the investigation at issue here



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falls within this category of allegations described in the August 2 Scope Memorandum. Indeed,

the Superseding Indictment alleges that defendant “generated tens of millions of dollars income

as a result of [his] Ukraine work” and that from approximately 2006 through the present,

defendant “engaged in a scheme to hide [that] income from United States authorities[.]”

Superseding Indictment ¶ 2. Thus, the Superseding Indictment alleges that defendant committed

a crime by engaging in a scheme to hide the payments he received from the Ukrainian

government beginning in 2006, before the election of President Yanukovych, and continuing

during President Yaunkovych’s tenure and through the present. Accordingly, the plain text of

the August 2 Scope Memorandum makes clear that the Special Counsel was authorized to

conduct the investigation and to seek the Superseding Indictment at issue here.

       In sum, the parties agree that the Acting Attorney General properly delegated to the

Special Counsel the authority to investigate “any links and/or coordination between the Russian

government and individuals associated with the campaign of President Donald Trump … .” May

17 Appointment Order ¶ b(i). And it is clear from the text of the May 17 Appointment Order

that the Special Counsel’s investigation into defendant, the former chairman of the Trump

campaign, and in particular defendant’s receipt of payments from Russian-backed officials in the

Ukrainian government falls within this appropriately-delegated prosecutorial authority. To the

extent the broadly-worded May 17 Appointment Order is lacking in clarity, the August 2 Scope

Memorandum seeks to remedy this by stating explicitly that the Special Counsel is authorized to

investigate defendant’s payments from the Ukrainian government before and during the tenure of

President Yanukovych. See August 2 Scope Memorandum at 1-2. Given that the Special

Counsel was authorized to conduct the investigation and to prosecute the violations in the

Superseding Indictment, dismissal of the Superseding Indictment is not warranted and



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defendant’s motion must be denied on this ground alone.

                                                III.

       Given that the Special Counsel was authorized to investigate and to prosecute this matter

pursuant to ¶ (b)(i) of the May 17 Appointment Order and the August 2 Scope Memorandum,

that conclusion is dispositive and defendant’s arguments with respect to ¶ (b)(ii) of the May 17

Appointment Order need not be addressed. But they are addressed for purposes of completeness.

       Assuming, arguendo, that ¶ b(ii) of the May 17 Appointment Order is implicated, this

question is a closer one. Paragraph (b)(ii) authorizes the Special Counsel to investigate “any

matters that arose or may arise directly from the investigation.” May 17 Appointment Order ¶

b(ii). Defendant contends this paragraph exceeds the Acting Attorney General’s authority to

establish the Special Counsel’s jurisdiction pursuant to 28 C.F.R. § 600.4 because ¶ (b)(ii)

confers unlimited additional, not original, jurisdiction without the required oversight of the

Acting Attorney General. The Special Counsel opposes this argument, contending (i) that the

line between original and additional jurisdiction is not as distinct as defendant suggests and (ii)

that ¶ (b)(ii) cabins the Special Counsel’s authority in a manner consistent with the Special

Counsel regulations.

       The question whether the Acting Attorney General complied with 28 C.F.R. § 600.4

when he granted the Special Counsel the authority described in ¶ b(ii) of the May 17

Appointment Order is close. On the one hand, as defendant correctly notes, the Special Counsel

regulations distinguish between the Special Counsel’s original and additional jurisdiction. With

respect to the Special Counsel’s original jurisdiction, § 600.4(a) requires that the Special Counsel

“be provided with a specific factual statement of the matter to be investigated.” 28 C.F.R. §

600.4(a). Pursuant to § 600.4(a), the Special Counsel’s original jurisdiction “shall also include



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the authority to investigate and prosecute federal crimes committed in the course of, and with

intent to interfere with, the Special Counsel’s investigation . . . and to conduct appeals arising out

of the matter being investigated and/or prosecuted.” Id.

       Section 600.4(b) establishes procedures by which the Special Counsel can gain additional

jurisdiction beyond the original jurisdiction described in § 600.4(a). Specifically, if the Special

Counsel concludes that he or she needs additional jurisdiction “to fully investigate and resolve

the matters assigned, or to investigate new matters that come to light in the course of his or her

investigation,” the Special Counsel can consult with the Attorney General, and the Attorney

General “will determine whether to include the additional matters within the Special Counsel’s

jurisdiction … .” Id. § 600.4(b).

       These provisions, taken together, suggest that a Special Counsel’s original jurisdiction

must be limited to (i) a specific factual statement of the matter to be investigated, (ii) federal

crimes committed in the course of, and with intent to interfere with, the Special Counsel’s

investigation, and (iii) appeals arising out of the matter to be investigated. Cf. Chevron U.S.A.

Inc. v. Echazabl, 536 U.S. 73, 80 (2002) (“[E]xpressing one item of [an] associated group or

series excludes another left unmentioned” (quoting United States v. Vonn, 535 U.S. 55, 65

(2002)). Accordingly, in defendant’s view, any matter not falling within one of these three

categories, including the matters described in ¶ (b)(ii) of the May 17 Appointment Order,

necessarily constitutes additional jurisdiction and can only be assigned to the Special Counsel

after consultation with, and approval by, the Attorney General.

       On the other hand, the Special Counsel correctly notes that the text of § 600.4 neither

expressly limits the scope of the Special Counsel’s original jurisdiction, nor does it establish a

strict boundary line between original and additional jurisdiction. And the Special Counsel



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contends that such sharp limitations and divisions would require the Special Counsel to consult

the Attorney General with respect to every incremental action the Special Counsel anticipated

taking as the facts developed in his or her investigation. In this regard, defendant’s interpretation

of § 600.4 would lead to results inconsistent with other sections of the Special Counsel’s

regulations, which make clear that the Special Counsel “shall not be subject to the day-to-day

supervision of any official of the [DOJ].” Id. § 600.7(b). 22

        The government also argues that ¶ (b)(ii) of the May 17 Appointment Order is not, as

defendant suggests, a “blank check” granting the Special Counsel unlimited and unreviewable

authority. Def’t. Mot. at 14. Indeed, the text of ¶ (b)(ii) circumscribes the Special Counsel’s

authority in two key ways: (i) by requiring that the matter at issue “arise from” the Special

Counsel’s investigation and (ii) by requiring that the matter arise “directly” from this

investigation. May 17 Appointment Order ¶ (b)(ii). In this regard, the Special Counsel is not

entitled to investigate and prosecute criminal conduct that is entirely incidental to, or

disconnected from, the specific factual statement of matters to be investigated; rather, the Special

Counsel is entitled to investigate only those matters that arise “in the usual or regular course or

order” of investigating the matters included in the specific factual statement. Black’s Law

Dictionary 557 (10th ed. 2014). 23

        The Special Counsel regulations also make clear that the Special Counsel remains subject

to the Attorney General’s oversight following the Special Counsel’s appointment,

notwithstanding the specific grant of original jurisdiction. For example, the regulations require


22
  Such limitations, divisions, and requirements for frequent consultation might ultimately be desirable, as they
would ensure that the Special Counsel’s work is carefully reviewed by democratically accountable leaders within the
DOJ.
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  Although Special Counsel may be correct that the May 17 Appointment Order does not grant a blank check, it
does grant the Special Counsel broad authority at which some observers might blanch. But whether a grant of broad
authority to the Special Counsel is desirable is a different question from whether it is legal.

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the Special Counsel (i) to “comply with the rules, regulations, procedures, practices, and policies

of the [DOJ,]” 28 C.F.R. § 600.7(a), and (ii) to “notify the Attorney General of events in the

course of his or her investigation in conformity with the Departmental guidelines with respect to

Urgent Reports[,]” id. § 600.8. And importantly, the Attorney General “may request that the

Special Counsel provide an explanation for any investigative or prosecutorial step, and may after

review conclude that the action is so inappropriate or unwarranted under established

Departmental practices that it should not be pursued.” Id. § 600.7(b). Should the Special

Counsel violate any of these Departmental policies, the Attorney General is empowered to

remove the special counsel.     See id. § 600.7(d).     In sum, because ¶ (b)(ii) itself and the

regulations cabin the Special Counsel’s authority, the Special Counsel argues that defendant’s

concern that ¶ (b)(ii) grants unlimited and unreviewable discretion to the Special Counsel is

unfounded.

       In the end, it is unnecessary to resolve the question whether ¶ (b)(ii) of the May 17

Appointment Order, which authorizes the Special Counsel to investigate “any matters that arose

or may arise directly from the investigation,” is an improper grant of original jurisdiction for two

reasons.   First, as described supra, the Special Counsel’s investigation and prosecution of

defendant is supported by ¶ (b)(i) of the May 17 Appointment Order. Second, the record makes

clear that the Acting Attorney General has required the Special Counsel to consult with the

Acting Attorney General before investigating matters that might fall under ¶ (b)(ii) of the May

17 Appointment Order. Specifically, the August 2 Scope Memorandum, consistent with 28

C.F.R. § 600.4, identifies specific factual matters to be investigated by the Special Counsel,

including allegations that defendant “[c]omitted a crime or crimes by colluding with Russian

government officials with respect to the Russian government’s efforts to interfere with the 2016



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election for President of the United States, in violation of United States law[.]” August 2 Scope

Memorandum at 2. And notably, the August 2 Scope Memorandum limits the Special Counsel’s

ability to investigate “additional matters that otherwise may have arisen or may arise directly

from the Investigation” by requiring the Special Counsel to “consult [the Acting Attorney

General] for a determination of whether such matters should be within the scope of [the Special

Counsel’s] authority.” Id. at 3. Thus, for the matters encompassed in ¶ (b)(ii) of the May 17

Appointment Order, namely “matters that arose or may arise directly from the investigation,” the

Acting Attorney General has required the Special Counsel to follow precisely the procedures the

Special Counsel must follow should he wish to request additional jurisdiction. Put differently, it

is immaterial whether ¶ (b)(ii) of the May 17 Appointment Order was actually a grant of

additional jurisdiction because the Acting Attorney General has required the Special Counsel to

follow the procedures for gaining additional jurisdiction should the Special Counsel wish to

exercise the authority set out in ¶ (b)(ii).

        In sum, whether ¶ (b)(ii) of the May 17 Appointment Order is a valid grant of original

jurisdiction pursuant to 28 C.F.R. § 600.4(a) is a close question; defendant’s argument that

¶ (b)(ii) grants overbroad original jurisdiction is not without some merit. In the end, however, it

is unnecessary to resolve this question because the Acting Attorney General incorporated the

regulations which required the Special Counsel to consult with the Acting Attorney General, in

compliance with 28 C.F.R. § 600.4(b), in the event the Special Counsel sought to exercise the

authority described in ¶ (b)(ii) of the May 17 Appointment Order.

                                               IV.

        Even assuming, arguendo, that the Acting Attorney General violated the Special Counsel

regulations by appointing the Special Counsel, this fact would nonetheless fail to support the



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remedy defendant seeks, namely dismissal of the Superseding Indictment, because (i) defendant

is not entitled to enforce these regulations and (ii) the Special Counsel had the requisite

constitutional and statutory authority to investigate and prosecute this matter.

        To begin with, the plain text of the Special Counsel regulations makes pellucid that the

regulations do not create any enforceable rights and as such, defendant’s attempt to enforce the

regulations must fail. Specifically, § 600.10, provides that the regulations “are not intended to,

do not, and may not be relied upon to create any rights, substantive or procedural, enforceable at

law or equity, by any person or entity, in any matter, civil, criminal, or administrative.” 28

C.F.R. § 600.10. The Fourth Circuit has routinely declined to enforce provisions governing DOJ

procedures where those provisions use language similar to the language at issue here. See, e.g.,

In re Grand Jury Proceedings, 42 F.3d 876, 880 (4th Cir. 1994) (policy governing attorney

subpoenas); In re Shain, 978 F.2d 850, 853 (4th Cir. 1992) (regulations governing journalist

subpoenas); United States v. Howard, 590 F.2d 564, 567-68 (4th Cir. 1979) (Petite policy

limiting dual prosecution). 24 Defendant is attempting to do precisely that which § 600.10 of the

Special Counsel regulations and Fourth Circuit precedent proscribe, namely to enforce the

Special Counsel regulations in a criminal proceeding. Because the plain text of the regulations

prevents this, it is not appropriate to do so here.

        In an attempt to avoid this conclusion, defendant characterizes his argument not as an

effort to enforce rights under the regulations but rather as a challenge to the Special Counsel’s

legal authority. Specifically, defendant argues that a Special Counsel, appointed in a manner that

violates the Special Counsel regulations, does not have the requisite legal authority to represent

24
  Other circuits have similarly declined to enforce provisions of this nature. See, e.g., In re Grand Jury Subpoena
(Miller), 438 F.3d 1141, 1152-53 (D.C. Cir.) (press subpoena regulations and related USAM provision), cert.
denied, 545 U.S. 1150 (2005); United States v. Wilson, 413 F.3d 382, 389 (3d Cir. 2005) (Petite policy limiting dual
prosecution); United States v. Lee, 274 F.3d 485, 492-93 (8th Cir.) (death penalty protocol), cert. denied, 537 U.S.
1000 (2002).

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the United States in investigating and prosecuting this case. But this argument misidentifies the

source of the Special Counsel’s legal authority. The Special Counsel’s legal authority is not

grounded in the procedural regulations at issue here, but in the Constitution and in the statutes

that vest the authority to conduct criminal litigation in the Attorney General and authorize the

Attorney General to delegate these functions when necessary. And because the Special Counsel

was appointed in a manner consistent with both these sources of legal authority, there is no basis

for dismissal of the Superseding Indictment.

           To begin with, the parties do not dispute that the Special Counsel’s appointment was

consistent with the Appointments Clause of the Constitution, which empowers Congress to vest

appointment of “inferior officers,” in the “president alone” or in “heads of departments.” U.S.

Const. art. II, § 2, cl. 2. In Morrison v. Olson, the Supreme Court concluded that the independent

counsel there was an “inferior officer,” not subject to appointment by the President and advice

and consent of the Senate, because (i) the independent counsel was removable by the Attorney

General and (ii) the independent counsel was “empowered . . . to perform only certain, limited

duties.” 487 U.S. at 663, 671. These same factors apply here—(i) the Special Counsel is

removable by the Acting Attorney General, see 28 C.F.R. § 600.7(d), and (ii) the Special

Counsel’s authority is limited to that which the Acting Attorney General has authorized

generally in the May 17 Appointment Order, and more specifically in the August 2 Scope

Memorandum. In sum, the parties do not dispute, and Morrison makes clear, that the Special

Counsel is an “inferior officer” and as such, can be appointed by a department head, in this case

the Acting Attorney General, pursuant to Article II of the Constitution. 25

           The Acting Attorney General appointed the Special Counsel and authorized him to



25
     See supra note 5.

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conduct the investigation at issue here in a manner consistent with statutory authority. Congress

has vested in the Attorney General the power to conduct criminal litigation on behalf of the U.S.

government. See 28 U.S.C. § 516.        At the same time, Congress has authorized the Attorney

General to appoint subordinates to assist in discharging these duties when necessary. See id. §§

509, 510, 515, 533. In this regard, Congress enabled the Attorney General to “specially retain[]”

attorneys “commissioned as special assistant to the Attorney General or special attorney” and to

authorize these special assistants to “conduct any kind of legal proceeding, civil or criminal,

including grand jury proceedings.” Id. § 515. Precisely this occurred here. The Acting Attorney

General decided that it was necessary to delegate the criminal investigation at issue here to a

“specially retained” attorney and as such, commissioned the Special Counsel and directed him to

investigate generally “any links . . . between the Russian government and individuals associated

with the campaign of President Donald Trump” and more specifically “any allegations that

[defendant] committed a crime or crimes arising out of payments [defendant] received from the

Ukrainian government before and during the tenure of President Viktor Yanukovych[.]” August

2 Scope Memorandum at 1-2. Accordingly, the Acting Attorney General acted within his

statutory authority when he appointed the Special Counsel and as such, the Special Counsel had

legal authority to investigate and prosecute this case.

       In sum, because the Special Counsel’s appointment was consistent with both

constitutional requirements regarding appointment of officers and statutory requirements

governing the authority to conduct criminal litigation on behalf of the United States, the Special

Counsel had legal authority to investigate and to prosecute this matter and dismissal of the

Superseding Indictment is not warranted.

       This conclusion is consistent with Supreme Court precedent, which has made clear in the



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criminal context that a court need not enforce an agency’s internal rules when the agency was

“not required by the Constitution or by statute to adopt any particular procedures or rules[.]”

United States v. Caceres, 440 U.S. 741, 749 (1979). As described above, the constitutional and

statutory provisions at issue here empower the Attorney General to appoint a special assistant

and to authorize that special assistant to conduct criminal litigation on behalf of the U.S.

government; these provisions do not require the Attorney General to follow specific procedures

when delegating this power. See, e.g., In re Persico, 522 F.2d 41, 66 (2d Cir. 1975) (noting that,

to satisfy 28 U.S.C. § 515, the Attorney General’s authorization of a specially retained attorney

“need not be embodied in a single written authorization, but may be implied from other writings,

guidelines, practices, and oral directions transmitted through a chain of command within the

department”); Infelice v. United States, 528 F.2d 204, 206 (7th Cir. 1975) (holding that a

commission’s failure to specify (i) the statute under which the special attorney was appointed,

(ii) the names of the persons to be investigated, and (iii) the reason for the appointment was not

fatal to a specially retained attorney’s appointment). Thus, as in Caceres, the DOJ was “not

required by the Constitution or by statute to adopt any particular procedures or rules [before

appointing a Special Counsel]” and as such, the court is not required to enforce the internal

procedures that the DOJ elected to establish. 440 U.S. at 749.

       The cases defendant relies on do not compel a contrary conclusion.            Specifically,

defendant relies chiefly on United States v. Providence Journal, 485 U.S. 693 (1988), United

States v. Nixon, 418 U.S. 683 (1974), and their progeny, but these lines of cases do not require a

result different from that reached here. In Providence Journal, a court-appointed prosecutor

sought certiorari in the Supreme Court without the authorization of the Solicitor General.

Providence Journal, 485 U.S. at 695-99. The Supreme Court ultimately dismissed the writ of



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certiorari because 28 U.S.C. § 518(a) makes clear that unless the Attorney General specifically

directs otherwise, only the Attorney General and the Solicitor General may “conduct and argue

suits and appeals in the Supreme Court . . . in which the United States is interested.” Id. at 699.

Because the court-appointed prosecutor was not the Attorney General or the Solicitor General,

the Supreme Court held that the court-appointed prosecutor was not a party entitled to petition

for certiorari and dismissed the writ for want of jurisdiction. Id.

         Defendant argues that the special prosecutor in Providence Journal lacked authority

because the special prosecutor was not appointed consistent with a DOJ regulation delegating to

the Solicitor General the authority to represent the United States in the Supreme Court. But,

contrary to defendant’s assertions, the Supreme Court made clear in Providence Journal that it

dismissed the writ of certiorari because “a federal statute[,]” namely 28 U.S.C. § 518(a),

“deprive[d] the special prosecutor of the authority to pursue the litigation in this Court on behalf

of the United States … .” Id. at 699 n.5 (emphasis added). In this regard, Providence Journal is

distinguishable from this case.            Here, as described above, the Acting Attorney General’s

delegation of authority to the Special Counsel to investigate and to prosecute the crimes alleged

in the Superseding Indictment is fully consistent with both pertinent constitutional and statutory

authority. Because there is no federal statute depriving the Special Counsel here of the power to

pursue litigation of this matter, Providence Journal does not demand dismissal of the

Superseding Indictment. 26


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   Defendant also cites to several cases arising under Providence Journal. Importantly, as in Providence Journal,
the courts in these cases relied on the fact that a statute, not an internal DOJ regulation, deprived the prosecutor at
issue of authority. For example, in Federal Election Commission v. NRA Political Victory Fund, 513 U.S. 88
(1994), the Court considered whether the FEC could petition for a writ of certiorari. Again, the Court dismissed the
writ of certiorari, this time because the Solicitor General authorized the filing of the petition outside the “mandatory
and jurisdictional” 90-day time limit established by statute in 28 U.S.C. § 2101(c). Similarly, in United States v.
Fernandez, the Fourth Circuit considered whether the Attorney General could take an interlocutory appeal of a
matter prosecuted by an independent counsel. The Fourth Circuit held that the Attorney General was not authorized
to take an interlocutory appeal because when an independent counsel is prosecutor, “the [1978] Act removes from

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         Next, defendant cites to United States v. Nixon in support of his argument that special

prosecutors, appointed inconsistently with internal DOJ regulations, lack authority to represent

the United States in criminal litigation. Specifically, defendant relies on one line of dicta in

Nixon in which the Supreme Court states that “[s]o long as this regulation is extant it has the

force of law.” Nixon, 418 U.S. at 695. But Nixon is distinguishable for two reasons. First, the

Nixon Court considered an issue different from the issue in this case; instead of deciding whether

the special prosecutor there had legal authority to conduct criminal litigation, the Nixon Court

considered whether the political question doctrine barred judicial review of conflicts between the

special prosecutor and the President. Specifically, the Nixon Court had to determine whether the

President’s attempt to quash a special prosecutor’s subpoena was an intrabranch conflict

concerning delegation of authority or a case or controversy capable of resolution by the

judiciary. As such, Nixon is inapposite inasmuch as the holding there did not adjudicate the legal

authority of a special prosecutor.

         Even assuming Nixon’s discussion of the political question doctrine was to govern here,

Nixon is distinguishable because the regulation at issue there appointed a special prosecutor and

specifically defined that special prosecutor’s authority. See id. at 694-96. In particular, the

regulation at issue in Nixon vested the special prosecutor there with authority to control the

course of investigations relating to:

         all offenses arising out of the 1972 Presidential Election for which the Special
         Prosecutor deems it necessary and appropriate to assume responsibility,

[the Attorney General’s] purview [the considerations inherent to the interlocutory appeal].” United States v.
Fernandez, 887 F.2d 465, 470 (4th Cir. 1989). Thus, dismissal of the appeal in that case was required because the
1078 Act, a statute, transferred the authority in question to the independent counsel. In sum, given that those cases
focus on statutory, not regulatory authority, the remedies in those cases are not warranted here.
          Neither does Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682 (1949), also cited by
defendant, require a result different from the result reached here. The Larson Court found that where “the officer’s
powers are limited by statute,” the officer’s “actions beyond those limitations are considered individual and not
sovereign.” Id. at 689. In this regard, the Court again emphasized the statutory, and not regulatory limit, to the
officer’s authority, and as such, Larson supports the conclusion reached here.

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       allegations involving the President, members of the White House staff, or
       Presidential appointees, and any other matters which he consents to have
       assigned to him by the Attorney General.

Id. at 694 n.8 (quoting Fed. Reg. 30739, as amended by 38 Fed. Reg. 32805). Indeed, the

regulation itself expressly delegated to the special prosecutor full authority with respect to

“determining whether or not to contest the assertion of ‘Executive Privilege’ or any other

testimonial privilege … .” 38 Fed. Reg. 30739, as amended by 38 Fed.Reg. 32805. The Nixon

Court reasoned that because the Attorney General specifically delegated to the special prosecutor

the authority to determine whether to contest the President’s assertion of Executive Privilege, the

Attorney General could not now reclaim that same authority without “amend[ing] or revok[ing]

the regulation.” Nixon, 418 U.S. at 696. By contrast, defendant here is not attempting to enforce

a regulation delegating specific authority to the Special Counsel; rather, defendant is attempting

to enforce a more general regulation governing the process by which the DOJ allocates authority

and divides responsibility internally. Given that the regulation at issue in this case is not a grant

of specific authority to the Special Counsel, Nixon’s dicta requiring the Attorney General to

revoke a specific grant of authority before reclaiming precisely that authority, is inapposite here.

       In sum, even assuming defendant is correct that the Acting Attorney General violated the

Special Counsel regulations when he appointed the Special Counsel here, that fact does not

warrant dismissal of the Superseding Indictment. The Special Counsel regulations themselves

make clear that the regulations do not “create any rights, substantive or procedural,” and as such,

the regulations are unenforceable “at law or equity, by any person or entity, in any matter, civil,

criminal, or administrative.” 28 C.F.R. § 600.10. Moreover, a violation of the Special Counsel

regulations would not deprive the Special Counsel of the requisite legal authority to investigate

and prosecute this matter because the Special Counsel’s appointment was consistent with both



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the Constitution and relevant federal statutes, and the Constitution and federal statutes do not

mandate that the Attorney General adopt any particular procedures prior to appointing a Special

Counsel. Accordingly, dismissal of the Superseding Indictment is not appropriate here, and for

this reason, as well as those described supra, defendant’s motion must be denied.

                                                       V.

        In sum, dismissal of the Superseding Indictment on the grounds urged by defendant is not

warranted here. But that conclusion should not be read as approval of the practice of appointing

Special Counsel to prosecute cases of alleged high-level misconduct.                       Here, we have a

prosecution of a campaign official, not a government official, for acts that occurred well before

the Presidential election. To be sure, it is plausible, indeed ultimately persuasive here, to argue

that the investigation and prosecution has some relevance to the election which occurred months

if not years after the alleged misconduct. But in the end, that fact does not warrant dismissal of

the Superseding Indictment. The Constitution’s system of checks and balances, reflected to

some extent in the regulations at issue, are designed to ensure that no single individual or branch

of government has plenary or absolute power. The appointment of special prosecutors has the

potential to disrupt these checks and balances, and to inject a level of toxic partisanship into

investigation of matters of public importance. 27 This case is a reminder that ultimately, our

system of checks and balances and limitations on each branch’s powers, although exquisitely

designed, ultimately works only if people of virtue, sensitivity, and courage, not affected by the

winds of public opinion, choose to work within the confines of the law. Let us hope that the

people in charge of this prosecution, including the Special Counsel and the Assistant Attorney


27
   A better mechanism for addressing concerns about election interference would be the creation of a bipartisan
commission with subpoena power and the authority to investigate all issues related to alleged interference in the
2016 Presidential election. If crimes were uncovered during the course of the commission’s investigation, those
crimes could be referred to appropriate existing authorities within the DOJ.

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General, are such people. Although this case will continue, those involved should be sensitive to

the danger unleashed when political disagreements are transformed into partisan prosecutions.




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